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 9                                 UNITED STATES DISTRICT COURT
10                                        DISTRICT OF NEVADA
11
      LAS VEGAS POLICE PROTECTIVE ASSOCIATION
 -    METRO INC.; LAS VEGAS METRO POLICE
13    MANAGERS & SUPERVISORS ASSOCIATION,                         CASE NO. 2:15-cv-01928-LDG-CWH
14                   Plaintiffs,
                                                                  DECLARATION OF MELISSA
1)            vs.                                                 JOHANNING IN SUPPORT OF
                                                                  MOTION FOR PRELIMINARY
16                                                                INJUNCTION
      LAS VEGAS METROPOLITAN POLICE
17    DEPARTMENT;

18
                     Defendant.
19
20    1, Melissa Johanning, declare:
21            1.      I am the President and top officer of Plaintiff Las Vegas Police Protective
22    Association Civilian Employees (“PPACE”) and a Metro employee who was granted paid leave
23    pursuant to our Association’s collective bargaining agreement with Metro. A true and correct
24    copy of the last-applicable provision is attached hereto as Exhibit A. Some provision for paid
25    leave for PPACE representatives has been in our agreements with Metro for over 20 years. The
26    last addition to the leave amount we had was in July 1,2007 (due to an increase in the number of
27    employees in the unit), where we went from three representatives to four. We had to buy that
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 I   additional representative’s leave because Metro offered PPACE a total dollar amount increase
 2   for the unit’s wages and benefits, and said if we wanted more leave, we had to divert funds
 3   from the unit’s wages and benefits, and that is what we did.
 4          2.      The last agreement with a paid leave provision expired July 1,2015 and Metro
 5   refused to continue the prior provision in effect, citing SB 241, and demanded PPACE going
 6   forward reimburse the Department for the full pay and benefits for myself and the 3 other
                                             4th
 7   PPACE representatives (including the          whom we can readily prove through negotiations
 8   minutes that we paid for already). This is costing PPACE over $500,000 per year. We are
                                               16Lh
 9   headed into an arbitration on December           about how to handle this problem going forward.
10   We are only able to afford this expense by consuming much of the reserves we built up over
11   many decades. This is unsustainable as our total dues income per year is approximately
12   $480,000. Once our reserves are gone, we will have to cut the number of representatives in half
13   if we cannot get members to pay higher dues (in addition to the four representatives, our
14   expenses include legal expenses to advocate for our members, travel expenses to Carson City to
15   lobby, accountants, office rent, and life insurance for the members costing about $5 per member
16   per pay period).
17           3.     Based on my experience and constant discussions with our members, the
18   members are unlikely to approve a dues increase sufficient to add $500,000 per year in dues: we
19   have about 1050 members out of a bargaining unit of about 1300 employees. If dues are raised
20   significantly, more employees will exercise their right under the state’s right-to-work laws to not
21   be members. Accordingly, SB 241 and the Department’s actions will force us ultimately to spend
22   less time advocating for our members. Myself and my three fellow association representatives do
23   not have sufficient vacation time to cover more than a small percentage of the work we have
24   been doing, and accordingly I will lobby less often in Carson City and with the elected officials
25   whose agencies fund Metro. Also, we will file fewer grievances and meet less often with the
26   members and Metro. Also, the quality of the health insurance being received by the members
27   through our association will suffer: a significant part of our activities is to administer health
28   benefits, performing functions that at many other employers are handled by their Human

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 1   Resources Department or by an outside benefit trust: for example, we handle all the paperwork
 2   when employees want to add or drop a dependent from health insurance. We solicit employees to
 3   come to health fairs via personal and mail solicitations. A true and correct list of these functions
 4   is attached hereto as Exhibit B. If we have fewer staff, we will enroll people more slowly which
 5   will adversely impact their healthcare.
 6          4.      Some of what we do with our paid leave is to encourage Metro employees to join
 7   the Association and we will no longer be able to do that to the same extent if returned to the
 8   Metro workforce, and hence the Association is likely to lose dues revenue. With fewer members
 9   as a result of SB 241 due to higher dues and less organizing, we will be less effective as an
10   organization because we will speak for a smaller percentage of the workforce, and we have much
11   less communication with non-members as they are not on our distribution lists and are not
12   allowed to attend meetings or cast ballots.
13          5.      To the extent we increase dues to compensate for SB 241, we will then face
14   increased pressure from members to bargain a better raise in the next negotiations with Metro to
15   compensate them for the dues increase, which pressure will adversely impact Metro and not just
16   us.
17          6.      Metro has provided paid leaves within the past several years for employees to
18   work for the following groups: Nevada Chiefs and Sheriffs Association; Police Athletic League;
19   Black Police Officers Association; Latino Police Officers Association; DARE; and crisis
20   intervention groups. It also has sent managers on paid status to lobby in Carson City. We are
21   aware of no legislative ban on such activities, but only on our paid leave.
22          7.      Metro and the public benefit from us having paid leave: (a) Metro would likely
23   have to pay more if it were to hire other individuals or entities to handle the health benefit
24   functions that we perform; (b) we are more familiar with Metro’s current conditions than
25   someone hired from the outside to represent these employees would be, but few of us want to
26   quit our Metro jobs to work exclusively for PPACE for many reasons, including a major loss of
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 I   PERS benefits; (c) being   on   paid leave allows us to conduct grievance meetings and meet-and-
2    confer sessions duñnu our managers reuular workdays rather than expecting them to mccl after
 3   hours or on their days   olt   loth we and our management counterpart would end up working
 4   excessive hours and becoming exhausted if every meeting had to occur outside the union
 5   representatives’ regular work hours: (d) our being available immediately on the job allows
6    meetings to occur while or immediately alter a problem occurs on the job (and at a time and
 7   place where we representatives can directly observe the conditions). rather than having to occur
 S   long after the fact and away from the worksite because the representative was instead required at
 9   the Lime of the events to he on duty elsewhere at Ihe agency. This makes for sounder
10   decisionmaking on the part of both the Association and management.
El           N.      We at the Association reduce Metros problems in recruitment and retention of
12   public employees and morale problems by gathering information ftom current and prospective
13   employees and the community and providing it to government officials, and by communicating
14   information to Metro employees. Many times we have counseled employees with perlormance
15   issues to obtain outside help with their personal problems, problems they never would have
16   admitted to management representatives. We have saved Metro large amounts of time and
17   money by encourauinu employees to waive formal investigations and accept proposed discipline.
IX           9.      1 have read the complaint in this matter and it is trite and correct as to out
19   association and based on my experience working with the other plaintiff associations I helieve it
20   to he true us to theni as well.
21           1 declare under penalty olperjurv of the laws ot the United States and Nevada that the
22   foregoing is true and correct. Executed this IThay of October 2015.
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24   UI     LLAa
25   MVL[SSA JOlIANNING
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                       Exhibit A
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                                                           PPACE




     PoLicE PROnCTwE AsSOcIATION,
        CWUJAN EMPLOYEES, INC.

                                  &


        Las Vegas Metropolitan
          Police Department

        COLLE CTWI BARGAINING
              AGREEMENT




               July 1, 2013 through June 30, 2015
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case the discipline shall not be more severe than if the employee’s violations had been discovered through
regular means.

4,3 Rights Generalty. Further, employees represented by this bargaining unit shall have, in addition to all
rights guaranteed them by the United States Constitution, the State of Nevada Constitution, and the laws of
those respective governments, the specific rights as listed in each article of the contract as a matter of
entitlement under the terms of this agreement. These rights shall not limit the employees general rights by law
or practice in any fashion.

In accordance with NRS 288.270 (I) (a), no Department member shalL prevent any employee covered by this
agreement from having contact with the Association. This contact may occur during the work hours when
approved by the supervisor based on operational needs or during breaks, lunch, or off-duty hours.

4.4 Notice of Investigatory Interviews. Whenever an employee covered by the collective bargaining
agreement is a party to an internal investigation as a subject or witness and is so notified as per Department
Procedure 5/101,26, such notice shall be faxed and c-mailed to the Association office. Notification to the
Association shall be completed at or near the time the employee is notified of the required interview.

4,5 Employee Files. Employees’ files and records, shall be maintained in a confidential manner. Access to
employee files shall normally be limited to the employee’s direct chain of command and other authorized
members of the Department as needed. Typing or maintenance of these files shall not normally be assigned to
part-time employees unless those employees are assigned to the Office of Labor Relations and sign a
confidentiality agreement.


                                  ARTICLE 5-ASSOCIATION RIGHTS

5.1 President or Designee. l’lie Association President, Vice President, and full time representatives shall each
be allowed 40 hours paid time per calendar week, individually or by job sharing, to accomplish general
Association business. Upon completion of the term, the President, Vice President, and full time representatives
shall return to the previously held classification, position and work assignment within the Department, or any
successor position such members would have been reclassified had they not been serving in this capacity.
Seniority will apply as if the member remained in that assignment. Members serving in a full time capacity,
shall be assigned to the Office of the Deputy Chief, Professional Standards Division. The Deputy Chief will be
informed of all annual, sick, and/or other leaves used by the members serving in a full-time capacity.

5.2 Association Representatives. The Association may designate Association representatives.
The Association shall notify the Department, in writing, of the nwncs of the representatives and their
respective jurisdictional areas prior to the effective date of any such designation.

5.3 lime. The Association will be allowed to maintain one full-time employee representative for every 400
employees of the bargaining unit. This authorized number will be inclusive of the position allowed in 5.1
President or Designee. The number of full time positions will be calculated at the start of each fiscal year and
is based on the authorized strength that has been budgetcd for that fiscal year. Employees so assigned are
granted “Association Pay.” In addition, the Association will be credited S00 hours of Association time to be
utilized by other employee representatives and to work on management of the Medical Insurance programs
available to Association members.

Representatives shall devote time provided by the Department to matters of collective bargaining or
representation for Las Vegas Metropolitan Police Department’s civilian employees.

Normally, no more than one employee from any bureau will be allowed off for Association leave at any one
time. Any additional representatives off at the same time must be approved by the Bureau Commander.
       -                     -                  -




LVPPACE Contract                         July 1.2013—June 30, 2015                                     Page 10
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Annataflon: This section was modified in 2007 to n,irmr language in the PP.1 ugnesnent rtgading the number ofpaid npresentailves and associated
hatesfor -aprrsenrnzives using Departnent slate.

20/2 —Added the Assoaolton Pay desig’ioeian to n,e,,,oflalize how the pay is classified in the Pajml)   syseeni.



5.4 Approval of Association Tima The representative shall have approval of the Association President or
designee and immediate supervisor prior to conductingAssociation business. Association leave will be granted
unless operational demands preclude the representative from leaving the tvork area. The “reason for leave”
will be marked “Association Time” and must be signed by the Association President and the representative’s
chain-of-command when this time is utilized. This time will not be abused and will not be unreasonably
denied by the supervisor(s).

The Payroll Section will submit a monthly report of Association time used via email to the PPACE office and
the Office of Labor Relations.
Annotation. 2012- Cleaned up language to reflect the actual practice/or author/satin,, ofAssociation time.


iS Conduct of Business. Representatives of the Association may communicate with individual employees at
the work site. The conduct of such business shall not unduly interfere with the individual employee’s duties or
work operations. Said representatives must check in with the employee’s immediate supervisor upon entering
the ‘work area to make arrangements to conduct the appropriate business.

5.6 Negotiations. The members of the Association negotiating team shall be granted leave from duty with full
pay for all meetings held for the purpose of negotiating and ratifying the terms of the contract when such
meetings take place at a time when such members are scheduled to be on duty. Members of each team will not
eKceed eight (S) unless agreed upon by the Association and Department. If negotiation session falls outside a
members regularly scheduled work hours and/or RDO, their shift will be adjusted to accommodate
negotiations. Shift adjustment does not apply to negotiation sessions that extend beyond a normal shift The
Association will make every effort to select members for the negotiation team from a cross section of the
Department to minimize operational impact.
Annotation: 2012   —   inc,eased negotiation pardcipantsfromn seven (7) to eight (8,).

5.7 Bulletin Boards. The Department will permit the use of bulletin boards in approved locations for the
posting of official Association notices. Such notices will be posted by a designated member of the Association
and will relate to Association business and activities.

it is understood that no material will be posted on the bulletin boards at any time which contains:

•     Personal attacks upon any member or any other employee;

•     Scandalous, scurrilous, or derogatory attacks upon the administration;

o     Attacks on any other employee organization, regardless of whether the organization has local membership;

o     Attacks on and/or favorable comments regarding a candidate for any public political office.

5.8 Contract Training. Upon completion and ratification of this Agreement, the Department and Association
will provide all personnel with training regarding the terms of this Agreement.




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 LVPPACE Contract                                           July 1,2013         —   June 30, 2015                                   Page 11
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                       Exhibit B
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Medical Duties PPACE Performs:

   1. Initial enrollment of new hires onto the PPACE Medical Plan
   2. Negotiations on the Annual Renewal of the Insurance Contracts (Medical, Vision,
       Dental & Life Insurance)
   3. Handling of the Annual Open Enrollment of the plan (a 2-4 week period where
       employees on the plan can come to our office and make changes)
   4. Yearly prior to the beginning of Open Enrollment, we have generally 3 days of
       meetings regarding any changes to the plans. This allows employees to come and
       ask questions to the carriers and the PPACE office staff.
   5. Process changes during the plan year (ie. marriages, birth of babies, name
       changes, address changes, and any qualifying event changes)
   6. Reconciling of the plan (ensuring the correct amount is being deducted from
       employees with dependent coverage and that the carriers are billing correctly)
   7. Receiving bi-weekly contributions from both LVMPD and the employees with
       dependent coverage. Keeping separate medical insurance accounts for deposits
       and payments.
   8. Making the monthly premium payments for the Medical, Vision, Dental and Life
       Insurance.
   9. First point of contact for Insurance issues that an employee or retiree is having.
       We have them complete HIPPA forms and work with our Broker and Carriers to
       get issues resolved
   10. Handling the termination of employees off the plan when they resign or retire and
       do not opt to keep the medical plan.
   II. Process paperwork for employees retiring and keeping the medical insurance. To
       include paperwork for the carriers as well as deductions from their PERS
       retirement checks.
   12. Handle questions regarding COBRA and the continuation of coverage once an
       employee leaves the agency.
   13. Time spent mailing required insurance documents. ERISA documents and items
       required by HCR.
   14. Maintaining individual files with the employees enrollment forms and billing/plan
       information(we do not keep medical history information)
